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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Tanya Hamm,                                      No. CV-17-03821-PHX-JJT
10                 Plaintiff,                         ORDER
11   v.
12   Equifax Information Services LLC, et al.,
13                 Defendants.
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15           A Notice of Settlement as to Defendant Experian Information Solutions, Inc., Only
16   (Doc. 56) having been filed,
17           IT IS ORDERED that this matter will be dismissed with prejudice as to Defendant
18   Experian Information Solutions, Inc. only, 60 days after the docketing of this order unless
19   the Plaintiff or Defendant Experian Information Solutions, Inc. files a stipulation to
20   dismiss prior to that date. The settlement constitutes an accord which has extinguished
21   the underlying claim as to these two parties only. All pending hearings and motions
22   relating to Plaintiff and Defendant Experian Information Solutions, Inc. are deemed
23   moot.
24           Dated this 16th day of November, 2018.
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                                          Honorable John J. Tuchi
27                                        United States District Judge
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